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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11

NEW CENTURY TRS HOLDINGS, INC.,a : Case No. 07-10416 (KIC)
Delaware corporation, et al.,! :
Jointly Administered

Debtors. : Objection Deadline: May 23, 2007 at 4:00 p.m.
Hearing Date: May 30, 2007 at 2:30 p.m.

NOTICE OF APPLICATION AND HEARING

PLEASE TAKE NOTICE that on May 11, 2007, the above-captioned
debtors and debtors in possession (the “Debtors”) filed the Application for Order
Pursuant to Section 327(e) of the Bankruptcy Code Authorizing Employment of
Irell & Manella LLP, as Special Litigation, Employee Benefits and Insurance
Counsel to the Debtors Nunc Pro Tune as of April 20, 2007 (the “Application”) with
the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd
Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”).

PLEASE TAKE FURTHER NOTICE that any responses or objections to

the Application must be in writing, filed with the Clerk of the Bankruptcy Court, 824

' The Debtors are the following entities: New Century Financial Corporation (f/k/a New Century
REIT, Inc.), a Maryland corporation; New Century TRS Holdings, Inc. (f/k/a New Century Financial
Corporation), a Delaware corporation; New Century Mortgage Corporation (f/k/a JBE Mortgage) (d/b/a
NCMC Mortgage Corporate, New Century Corporation, New Century Mortgage Ventures, LLC), a
Califomia corporation; NC Capital Corporation, a California corporation; Home123 Corporation (f/k/a The
Anyloan Corporation, 1800anyloan.com, Anyloan.com), a California corporation; New Century Credit
Corporation (f/k/a Worth Funding Incorporated), a California corporation; NC Asset Holding, L.P. (ffk/a
NC Residual IL Corporation), a Delaware limited partnership; NC Residual III Corporation, a Delaware
corporation; NC Residual I'V Corporation, a Delaware corporation; New Century R.E.O. Corp., a California
corporation; New Century R.E.O. II Corp, a California corporation; New Century R.E.O. III Corp, a
California corporation; New Century Mortgage Ventures, LLC (d/b/a Summit Resort Lending, Total
Mortgage Resource, Select Mortgage Group, Monticello Mortgage Services, Ad Astra Mortgage, Midwest
Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited liability company; NC Deltex, LLC, a Delaware limited liability company; NCoral, LP.,
a Delaware limited partnership.

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Market Street, 3rd Floor, Wilmington, Delaware 19801, and served upon and received by

the undersigned counsel on or before 4:00 p.m. on May 23, 2007.

PLEASE TAKE FURTHER NOTICE that if any objections or responses

are received a hearing with respect to the Application will be held on May 30, 2007 at

2:30 p.m. before the Honorable Kevin J. Carey at the United States Bankruptcy Court,

824 Market Street, 5" Floor, Courtroom #5, Wilmington, Delaware 19801.

IF NO OBJECTIONS TO THE APPLICATION ARE TIMELY FILED,
SERVED AND RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT

FURTHER NOTICE OR HEARING.

Dated: May 11, 2007
Wilmington, Delaware

RLF-3150620-1

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PROPOSED ATTORNEYS FOR DEBTORS
AND DEBTORS IN POSSESSION
